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  10
                            UNITED STATES DISTRICT COURT
  11
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13
     VANESSA BRYANT, a California                   Case No. 2:20-cv-09582-JFW-E
  14 Resident,
                                                    DISCOVERY MATTER
  15               Plaintiff,
                                                    NOTICE OF MOTION AND JOINT
  16        vs.                                     STIPULATION RE: PLAINTIFF’S
                                                    MOTION TO COMPEL
  17 COUNTY OF LOS ANGELES, a                       COMPLIANCE WITH
     public entity, et al.,                         SUBPOENAS FOR CELL PHONE
  18                                                RECORDS
                  Defendants.
  19                                                Filed Concurrently with Declaration of
                                                    Jennifer L. Bryant; Declaration of
  20                                                Steven H. Haney; Plaintiff’s [Proposed]
                                                    Order
  21
                                                    Judge: Hon. John F. Walter
  22                                                Magistrate Judge: Hon. Charles F. Eick
  23                                                Hearing: November 5, 2021
                                                    Time:    9:30 a.m.
  24                                                Place:   Courtroom 750
  25                                                Discovery Cutoff: November 29, 2021
                                                    Pretrial Conference: February 4, 2022
  26                                                Trial: February 22, 2022
  27
  28
                                                                         Case No. 2:20-cv-09582-JFW-E
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   1         TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF
   2 RECORD:
   3         PLEASE TAKE NOTICE that on November 5, 2021, at 9:30 a.m., or as soon
   4 thereafter as this matter may be heard in Courtroom 750, 7th Floor, of the above-
   5 captioned Court, located at 255 E. Temple St., Los Angeles, California 90012,
   6 Plaintiff Vanessa Bryant will and hereby does move for an order compelling former
   7 Los Angeles County Fire Department employee Brian Jordan to produce all records
   8 generated and maintained by his wireless carrier for his mobile devices that show
   9 his text-messaging activity between January 26 and March 3, 2020.
  10         Pursuant to Federal Rule of Civil Procedure 37(a) and Local Rule 37-2, the
  11 parties respectfully submit this joint stipulation setting forth their contentions.
  12         This Motion is based on upon this Notice of Motion, the attached Joint
  13 Stipulation, the Declaration of Jennifer L. Bryant and exhibits thereto, and any other
  14 papers or argument of counsel that may be filed or submitted in connection with this
  15 Motion.
  16         In accordance with Local Rule 37-1, counsel for Plaintiff and Mr. Jordan met
  17 and conferred regarding this dispute by videoconference on August 26, 2021, and by
  18 correspondence prior to and following that conference, but were unable to reach
  19 agreement regarding the subject matter of this Motion.
  20 DATED: October 14, 2021                 MUNGER, TOLLES & OLSON LLP
  21
  22
                                             By:                    /s/ Luis Li
  23
                                                                     LUIS LI
  24
  25                                         Attorneys for Plaintiff Vanessa Bryant

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   1                                   JOINT STIPULATION
   2 I.       INTRODUCTORY STATEMENTS
   3          A.     Plaintiff’s Statement
   4          As the Court knows, this case is about graphic photographs taken by
   5 employees of the County of Los Angeles (the “County”) at the crash site where
   6 Plaintiff Vanessa Bryant tragically lost her husband and daughter, Kobe and Gianna
   7 Bryant, on January 26, 2020. (Declaration of Jennifer L. Bryant (“Bryant Decl.”),
   8 Ex. A (First Amended Complaint (“FAC”)) ¶ 1.)
   9          Brian Jordan was one of those County employees who improperly took
  10 photographs of the deceased. He was posted at the scene of the crash for several
  11 hours on January 26, 2020 as an incident safety officer on behalf of the Los Angeles
  12 County Fire Department (“Fire Department” or the “Department”). While there, he
  13 took multiple photographs directly focused on human remains and then sent the
  14 photos to at least one other Department employee, who proceeded to share them
  15 over cocktails at a public awards show function. (Bryant Decl. ¶ 18, Ex. N at 186,
  16 Ex. O at 194.) Following an internal inquiry, the Fire Department concluded that
  17 the photos taken and shared by Mr. Jordan served no legitimate business purpose
  18 and instead “served to appeal to baser instincts and desires for what amounted to
  19 visual gossip” and “could only be categorized as taken for personal gain or
  20 purpose.” (Id. Ex. N at 187, 188.)
  21          During the Fire Department’s inquiry, Mr. Jordan tried to cover up his
  22 misconduct. Rather than report the photos he had in his possession to his chain of
  23 command, Mr. Jordan deleted the evidence of his wrongdoing and then made false
  24 statements to Department investigators about the role he played in taking and
  25 sharing the improper photos. (Id. Ex. N at 186, 188, Ex. O at 195.) Now, Mr.
  26 Jordan is continuing his pattern of evasion by refusing to participate in discovery.
  27 Just days ago, he refused to sit for deposition and likewise refused to produce any
  28 documents in his possession. (Bryant Decl. ¶ 17.) That discovery misconduct will

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   1 be the subject of a future motion after completion of the Rule 37 meet-and-confer
   2 process.
   3        By this motion, Mrs. Bryant seeks an order requiring Mr. Jordan to produce
   4 cell phone records, including records of his text-messaging activity, for a narrow
   5 five-week timeframe—from January 26, 2020 through March 3, 2020. Mr. Jordan’s
   6 wireless carrier, AT&T, maintains records of picture and video messaging activity.
   7 (Bryant Decl. ¶ 24.) The requested records will therefore shed light on (1) whether
   8 Mr. Jordan was texting pictures or videos while he was snapping graphic photos of
   9 body parts at the crash site, (2) whether he texted images in the immediate aftermath
  10 of the events of January 26, and (3) to whom he was sending such photo messages.
  11 This discovery is squarely relevant to Plaintiff’s claims that the County violated her
  12 constitutional right to control images of her dead husband and daughter.
  13        On August 16 and 17, 2020, Mrs. Bryant served subpoenas on AT&T and T-
  14 Mobile requesting Mr. Jordan’s text-messaging and data-transfer activity records for
  15 an eight-month span. (Id. ¶¶ 4–5.) Mr. Jordan served objections to both subpoenas
  16 and announced his intent to file a motion to quash, asserting that the requested
  17 records were protected by his constitutional right to privacy. (Id. ¶¶ 9–10, Exs. I–
  18 M.) To support his position, Mr. Jordan’s counsel cited Carpenter v. United States,
  19 138 S. Ct. 2206 (2018), an inapposite Fourth Amendment case arising from a federal
  20 criminal prosecution. (Id. ¶ 11.) Counsel for Plaintiff, Mr. Jordan, and Defendants
  21 met and conferred by videoconference on August 26. (Id. ¶ 12.) In an effort at
  22 compromise, following the meet and confer, Mrs. Bryant served amended
  23 subpoenas on the carriers that narrowed the timeframe and clarified that she sought
  24 only text-messaging records, not the underlying content of the communications.
  25 (Id. ¶ 13.) Mr. Jordan nonetheless continued to stand on his objections. (Id. ¶ 14.)
  26 Accordingly, Plaintiff asked the carriers to hold responsive records to allow time for
  27 the Court to resolve Mr. Jordan’s objections. (Id. ¶ 16.)
  28

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   1         As a protective measure, on August 26, 2021, Mrs. Bryant also served a
   2 document subpoena directly on Mr. Jordan that requested the same text-messaging
   3 records. (Id. ¶ 8.) Mr. Jordan has not served any objections to that subpoena or
   4 produced any responsive records. (Id. ¶ 8.)
   5         Ten current County employees who took, received, or shared photos from the
   6 crash site have consented to the production of their personal cell phone records,
   7 conceding the relevance of such records. (Id. ¶ 15.) Mr. Jordan is the only known
   8 individual who took photos of human remains at the crash site who refuses to
   9 produce his personal cell phone records. (Id.)
  10         Mrs. Bryant respectfully requests that the Court compel the production of Mr.
  11 Jordan’s cell phone records showing his call and text-messaging activity between
  12 January 26 and March 3, 2020.
  13         B.    Brian Jordan’s Statement
  14         Plaintiff VANESSA BRYANT (“Plaintiff”) has caused a subpoena to be
  15 issued for both the county and personal cell phone records of various individual who
  16 were first responder county employees who appeared at the accident scene at the
  17 tragic Kobe Bryant helicopter crash. While third-party witness Captain Brian
  18 Jordan, the Chief Safety Officer for the Los Angeles County Fire Department, has
  19 no objection to his county cell phone records being inspected, he does object and
  20 hereby moves to quash this subpoena to the extent that it lists his personal cell
  21 phone number amongst the cell phone numbers on which Plaintiff seeks to discover
  22 records from two phone carriers, T-Mobile and AT&T.
  23         On August 31, 2021 Mrs. Bryant sought yet another subpoena, this time
  24 referring to it as an Amended Subpoena requiring Mr. Jordan to produce cell phone
  25 records, including records of his text-messaging activity, from January 26, 2020
  26 through March 3, 2020. Accordingly, Captain Jordan objected to this amended
  27 subpoena.
  28

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   1         Under the plain language of the landmark holding in Carpenter v. United
   2 States, (138 S. Ct. 2206,(2018)), and as expressed wholly and concisely by Chief
   3 Justice John Roberts, personal cell phone records do carry with them an expectation
   4 of privacy and should not be produced absent an appropriate showing of good cause,
   5 and preferably in response to a search warrant. In the instant case there has been no
   6 search warrant, and Captain Jordan received no notice or opportunity to be heard or
   7 due process with regards to the issuance of this subpoena. Because this subpoena
   8 infringes on his right of privacy as found in the Fourth Amendment to the United
   9 States Constitution, Captain Jordan seeks to quash this subpoena to the extent it
  10 seeks his personal cell phone records or, in the alternative, respectfully requests this
  11 court issue a Protective Order as the phone number listed in the subpoena that
  12 matches his personal cell phone records.
  13         Plaintiff contends that Brian Jordan was a County employee who improperly
  14 took photographs of the deceased. To clarify, Captain Jordan was at the scene of the
  15 accident, serving as the Safety Officer tasked with surveying the scene to ensure the
  16 safety of the first responders present. The erroneous narrative that Plaintiff has
  17 curated about Captain Jordan taking pictures for the sole purpose of circulating these
  18 pictures is egregious. In Plaintiff’s own Exhibits herein referenced as Exhibit O, it
  19 is clear Captain Jordan wanted nothing to do with the pictures and the that he was
  20 advised by a superior up in the chain of command to take pictures for intel purposes.
  21 In Exhibit O he relays just that.
  22         Remarkably, Plaintiff accurately cites that Captain Jordan was posted at the
  23 scene of the crash for several hours on January 26, 2020 as an incident safety officer
  24 on behalf of the Los Angeles County Fire Department (“Fire Department” or the
  25 “Department”). Conversely Plaintiff twists the facts to once again fit their narrative
  26 citing that Captain Jordan took multiple photographs directly focused on human
  27 remains and then sent the photos to at least one other Department employee, who
  28 proceeded to share them over cocktails at a public awards show function. (Bryant

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   1 Decl. ¶ 18, Ex. N at 186, Ex. O at 194.) Simply put this is an inaccurate depiction of
   2 the report. The report corroborates the fact that Captain Jordan took photographs of
   3 the crash and the nature of the crash but does not recall what exactly what images
   4 were captured; however, he did state to the best of his recollection that graphic
   5 images as well as Kobe Bryant's remains, were probably in the photographs that he
   6 took. He did not at any point provide false information. Likewise, it is vital to note
   7 that this report was merely an investigation. There is no concrete manner to
   8 determine the accuracy of the statements made in this report, as they are all hearsay.
   9         Yet again, Plaintiff emits unsubstantiated allegations that Mr. Jordan tried to
  10 cover up his misconduct. Mr. Jordan deleted pictures he had taken after he had
  11 heard someone command to delete all pictures. In Plaintiff’s own Complaint it is
  12 stated that County Employees were told to delete pictures of the crash site. Captain
  13 Jordan never made false statements and in fact never partook in any wrongdoing.
  14 Captain Jordan was following orders and could not even recall who commanded him
  15 to take pictures of the scene after the horrific things he had to observe that day while
  16 he was on the job.
  17         With reference to Exhibit N, Plaintiff declares that following an internal
  18 inquiry, the Fire Department concluded that the photos taken and shared by Mr.
  19 Jordan served no legitimate business purpose and instead “served to appeal to baser
  20 instincts and desires for what amounted to visual gossip.” However, a closer look at
  21 the letter will reveal that the Department took this opportunity to berate Captain
  22 Jordan and pin the blame on him after he was following instructions, which they do
  23 not deny. Exhibit N is overflowing with inconsistencies, the letter accuses Captain
  24 Jordan of not honoring the Department's Code of Ethics, which expects that you will
  25 "never let ... personal feelings deter [you] in the performance of [your] duties." This
  26 language suggests that Captain Jordan should not have allowed his personal feelings
  27 to deter his performance, but that is the ideology which caused his discipline to
  28

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   1 begin with. If he allowed his personal interests to interfere with his job then he
   2 would not have taken pictures as he was instructed to do.
   3           Plaintiff oddly brings to light that ten current County employees who took,
   4 received, or shared photos from the crash site have consented to the production of
   5 their personal cell phone records, conceding the relevance of such records. (Id.
   6 ¶ 15.) Mr. Jordan should not be subject to intrusion of his personal cell phone
   7 records purely because everyone else involved in the lawsuit blindly agreed to
   8 provide such records. Should the law point fingers and make presumptions upon
   9 those individuals who proclaim they will not quietly recant? It appears Plaintiff is
  10 yet again trying to utilize Mr. Jordan as a scapegoat and direct their shortcomings on
  11 the fact that Mr. Jordan will not provide the information requested. Lastly, Plaintiff
  12 is no longer a current County employee, rather, due to this incident his mental health
  13 caused him to retire early therefore he has no knowledge of what other county
  14 employees are conceding to.
  15 II.       ISSUES IN DISPUTE
  16           Mrs. Bryant seeks compliance with requests for cell phone records served on
  17 Mr. Jordan and his wireless carriers. The specific language of the requests at issue
  18 are as follows:
  19           Subpoena to Brian Jordan: All DOCUMENTS, including but not
  20           limited to records, invoices, and bills generated or maintained by the
  21           wireless carrier for YOUR MOBILE DEVICE(S), showing phone call
  22           and text-messaging activity for YOUR MOBILE DEVICE(S) between
  23           January 26 and March 3, 2020. 1
  24           Subpoenas to AT&T and T-Mobile: All records and data, in
  25           whatever form, indicating, showing, or reflecting text-messaging or
  26
  27   1
           See Bryant Decl. Ex. G at 141.
  28

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    1           data-transfer activity by, on, or via any MOBILE DEVICE(S) or
    2           COMPUTING DEVICE(S) associated with [Brian Jordan’s personal]
    3           cellular/wireless telephone numbers listed in Figure One below, 2
    4           between January 26, 2020 and March 3, 2020, excluding the content of
    5           any calls or messages. For the avoidance of doubt, this request
    6           includes, but is not limited to, all logs, cellular detail records, call or
    7           activity histories, records, statements, invoices, and bills indicating,
    8           showing, or reflecting any transmission or SHARING, whether by text
    9           messages, electronic mail, Air Drop, or any other means, of PHOTO(S)
   10           to or from any MOBILE DEVICE(S) or COMPUTING DEVICE(S)
   11           associated with [Brian Jordan’s] cellular/wireless telephone numbers
   12           listed in Figure One below, and the cellular/wireless telephone
   13           number(s) to or from which PHOTO(S) were transmitted or SHARED,
   14           between January 26, 2020 and March 3, 2020. For further avoidance of
   15           doubt, this request does not include the content of any calls, messages,
   16           or PHOTO(S). 3
   17           A.     Plaintiff’s Contentions
   18           As the party resisting discovery, Mr. Jordan bears the burden to show the
   19 requested discovery is not warranted, and he also has the burden of “clarifying,
   20 explaining, and supporting [his] objections.” Cable & Comput. Tech., Inc. v.
   21 Lockheed Saunders, Inc., 175 F.R.D. 646, 650 (C.D. Cal. 1997). He has not come
   22 close to carrying his burden.
   23           To begin with, Mr. Jordan has waived any objections to his subpoena.
   24 Because he has the right to obtain the requested records from his cell phone carrier,
   25
   26   2
         While Mr. Jordan’s personal cell phone number is specified in the subpoenas, we
        omit it here to preserve his privacy.
   27
   28
        3
            See Bryant Decl. Ex. E at 108–09, Ex. F at 125–26.

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    1 Mr. Jordan has an obligation to produce such records in response to a subpoena
    2 served on him. See, e.g., Crowther v. City of Fontana, 2018 WL 6016289, at *2
    3 (C.D. Cal. Sept. 10, 2018) (“Because defendants, as the subscribers, may still have
    4 the legal right to obtain . . . non-content information from their cell phone providers,
    5 they must first make a reasonable attempt to request it.”); Tater-Alexander v.
    6 Amerjan, 2010 WL 4687735, at *3 (E.D. Cal. Nov. 10, 2010) (compelling
    7 production of cell phone records). However, Mr. Jordan did not serve any written
    8 objections, thereby waiving any objections he could have asserted. See, e.g., McCoy
    9 v. Sw. Airlines Co., 211 F.R.D. 381, 385 (C.D. Cal. Nov. 7, 2002) (“[A] nonparty’s
   10 failure to timely make objections to a Rule 45 subpoena duces tecum generally
   11 requires the court to find that any objection, including attorney-client privilege, has
   12 been waived.”).
   13         Even if Mr. Jordan had preserved his objections, they would lack merit. Mr.
   14 Jordan has not disputed that his text-messaging activity on January 26, 2020 and in
   15 the following days and weeks is relevant and reasonably calculated to lead to the
   16 discovery of admissible evidence. Nor could he. Such text-messaging activity is
   17 reasonably likely to show the extent to which Mr. Jordan transferred the photos at
   18 issue in this case—photos that were indisputably in his possession. Because the
   19 records will tend to show Mr. Jordan’s dissemination of the graphic photos of
   20 human remains he took on January 26, and no alternative source of such information
   21 exists in the wake of his attempt to cover his tracks, the cell phone records are
   22 critical evidence in this case.
   23         Unable to dispute the relevance, Mr. Jordan has objected to the production of
   24 his cell phone records solely on privacy grounds. His conclusory privacy objection
   25 is meritless. The requests at issue do not seek sensitive personal information. The
   26 requested records will show account numbers, dates, times, and telephone numbers.
   27 Mr. Jordan’s privacy interest in a mere log of call and text-messaging activity is
   28 marginal, at best. He has yet to articulate any serious privacy interest in such

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    1 records. There is none. See, e.g., Kamalu v. Walmart Stores, Inc., 2013 WL
    2 4403903, at *4 (E.D. Cal. Aug. 15, 2013) (finding plaintiff did not have a protected
    3 privacy interest or reasonable expectation of privacy in records of incoming and
    4 outgoing calls, as such information would not “cause unjustified embarrassment and
    5 indignity,” and the records are “derived from information voluntarily conveyed to
    6 the cellular phone provider”); Mintz v. Mark Bartelstein & Assoc., Inc., 885 F. Supp.
    7 2d 987, 999–1001 (C.D. Cal. 2012) (concluding that disclosure of telephone
    8 numbers, “as well as the date, time, and duration of calls does not represent a
    9 significant intrusion of Plaintiff’s privacy”); Shaw v.Experian Info. Sols., Inc., 306
   10 F.R.D. 293, 301 (S.D. Cal. 2015) (“[T]he disclosure of names, addresses, and
   11 telephone numbers is commonly allowed, because such disclosure ‘does not involve
   12 revelation of personal secrets, intimate activities, or similar private information,
   13 which have been found to be serious invasions of privacy.’” (citation omitted)).
   14         Even assuming Mr. Jordan has any legitimate privacy interest in his cell
   15 phone records, the right of privacy is not absolute. See Shaw, 306 F.R.D. at 301.
   16 Where a party has a need for information in litigation, the privacy right yields to the
   17 competing right to discovery. See id. (compelling production of “highly relevant”
   18 information over customers’ privacy objections). Because here the “request is
   19 narrowly tailored and there is no other means for the Plaintiff to obtain the
   20 information,” Mrs. Bryant’s “need for the cell phone records outweighs [Mr.
   21 Jordan’s] privacy objections.” Murray v. Carlsbad, 2010 WL 2612698, at *2 (S.D.
   22 Cal. June 25, 2010) (compelling production of police officer’s cell phone records).
   23         Moreover, as courts have recognized in routinely compelling the production
   24 of cell phone records, any conceivable privacy interest is adequately protected by
   25 the stipulated protective order that is in place (see Bryant Decl. Ex. B). See, e.g.,
   26 Quintana v. Claire’s Boutiques, Inc., 2014 WL 3371847, at *3 (N.D. Cal. July 9,
   27 2014) (compelling production of cell phone records because “[plaintiff’s] privacy
   28 objections to the production of the discovery [were] addressed by the protective

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    1 order in place in th[e] case”); Mintz, 885 F. Supp. 2d at 999–1001 (C.D. Cal. 2012)
    2 (same); Crews v. Domino’s Pizza Corp., 2009 WL 10672572, at *4 (C.D. Cal. July
    3 31, 2009) (same). Mr. Jordan is free to designate his records as confidential
    4 pursuant to the protective order. That protection is more than sufficient to protect
    5 his privacy.
    6         Mr. Jordan may assert that he told Department investigators he used a work
    7 phone to take the graphic photos, but Mr. Jordan has shown that he cannot be taken
    8 at his word. He told those very same investigators that he did not send the graphic
    9 photos to anyone, which has proven to be false. (See Bryant Decl. Ex. O at 195.)
   10 Moreover, discovery in this case has shown that County employees routinely use
   11 personal devices to take photos at work, and that countless County employees were
   12 using personal devices at the crash site. (Id. ¶¶ 22–23.) Mrs. Bryant therefore has
   13 good reason to seek records of Mr. Jordan’s personal phone activity during the
   14 relevant timeframe.
   15         After grievously intruding on Mrs. Bryant’s privacy by taking graphic photos
   16 of her deceased loved ones, Mr. Jordan cannot now use a putative privacy interest in
   17 text-activity logs to deprive Mrs. Bryant of information that is highly relevant to her
   18 claims and reasonably likely to show the extent of Mr. Jordan’s wrongdoing. Mrs.
   19 Bryant respectfully requests that the Court overrule Mr. Jordan’s privacy objection
   20 and compel the production of his cell phone records for the narrow requested time
   21 period.
   22         B.     Brian Jordan’s Contentions
   23         Federal Rule of Civil Procedure 45(d)(3) governs the quashing or modifying of
   24 subpoenas. The Court must quash or modify a subpoena that “(i) fails to allow a
   25 reasonable time to comply; (ii) requires a person to comply beyond the geographical
   26 limits specified in Rule 45(c); (iii) requires disclosure of privileged or other protected
   27 matter, if no exception or waiver applies; or (iv) subjects a person to undue burden.”
   28 Fed. R. Civ. P. 45(d)(3)(A)(i)-(iv).

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    1         Captain Jordan assets that the Plaintiff’s requested discovery is not warranted.
    2 Under the California Constitution, all people have a constitutionally protected right
    3 to privacy. See Cal. Const. Art. I, § 1 (“All people are by nature free and independent
    4 and have inalienable rights. Among these are enjoying and defending life and liberty,
    5 acquiring, possessing, and protecting property, and pursuing and obtaining safety,
    6 happiness, and privacy.”). To prevent a constitutionally protected invasion of privacy,
    7 a witness must establish: “(1) a legally protected privacy interest; (2) a reasonable
    8 expectation of privacy in the circumstances; and (3) conduct by defendant constituting
    9 a serious invasion of privacy.” (TBG Ins. Servs. Corp. v. Superior Court 96
   10 Cal.App.4th 443, 449 (2002)).
   11         Furthermore, under California law, a “reasonable expectation of privacy” is
   12 an objective entitlement founded on broadly based and widely accepted community
   13 norms, and the presence or absence of opportunities to consent voluntarily to
   14 activities impacting privacy interests obviously affects the expectations of the
   15 participant. Cal. Const. Art. 1, § 1. Here, Captain Jordan’s cell phone records are of
   16 issue, and he claims a privacy interest in this device that he stores his most personal
   17 information. Particularly, the recent decisions in Mintz, Carpenter, and Riley are
   18 outlined herein to highlight the Court’s policy rationale in previous cases concerning
   19 the privacy interest in one’s cell phone records.
   20         California courts have treated the right to privacy as a privilege in the
   21 discovery context, and have determined it is a right only subject to invasion under
   22 prescribed circumstances. (See, e.g., Hill v. National Collegiate Athletic Assn., 7
   23 Cal.4th 1, 37, (1994)). Thus, the privilege is subject to balancing the needs of the
   24 litigation with the sensitivity of the information or documents sought. (Pioneer
   25 Electronics (USA), Inc. v. Superior Court, 40 Cal.4th 360, 370-75 (2007)).
   26         Here, after balancing the needs of the litigation with the sensitivity of the
   27 information sought, and in light of the entry of the stipulated protective order in this
   28 action the Court should find that disclosure of the requested information is

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    1 inappropriate. Although, the Supreme Court’s decision in Riley v. California, (573
    2 U.S. 373 (2014)) has no bearing on this matter, it is employed to outline the Court’s
    3 policy rationale with regards to privacy and modern day cell phones. Riley
    4 established that personal electronic devises, due partially to their ability to maintain
    5 voluminous amounts of personal data, deserve greater Fourth Amendment
    6 protection than other personal possessions. In making its findings the Court noted
    7 that electronic devises carry immense storage capacity. The capability to maintain
    8 such vast information allows cell phones to store and transport “millions of pages of
    9 text, thousands of pictures, or hundreds of videos.” (Id. 374). The Court also
   10 identified several qualitative differences between the digital information stored on
   11 personal electronic devices and other physical objects people might carry. Wherein
   12 they found, “A phone not only contains in digital form many sensitive records
   13 previously found in the home, it also contains a broad array of private information
   14 never found in a home in any form,” such as Internet search and browsing history
   15 and location information. (Id. at 397). Significantly the Court found that
   16 “Modern cell phones are not just another technological convenience,” but “hold for
   17 many Americans ‘the privacies of life.’ ” (Id. at 374.) Further, The Court held that
   18 these privacies demand special Fourth Amendment protection, even in the context of
   19 a search incident to arrest, and the fact that technology now permits us the privilege
   20 of carrying around such information storage centers does not make the “information
   21 any less worthy of the protection for which the Founders fought.” (Id. at 374.)
   22         Thus, in the present case Jordan claims (1) a legally protected privacy interest
   23 in his cell phone records; (2) one that has a reasonable expectation of privacy; and
   24 (3) conduct by Plaintiff constituting a serious invasion of this privacy
   25 interest. Applying the balancing test the court should determine the needs of the
   26 litigation do not outweigh the sensitivity of the information sought. The information
   27 contained in Jordan’s cell phone deserves the utmost protection due to its ability to
   28 hold for Jordan, like many Americans, “the privacies of [his] life.” Were the court to

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    1 turn a blind eye and allow Plaintiff to gain access to this information, this would
    2 have long term effects on Americans across the nation, particularly given the
    3 publicity surrounding this case, irrespective of whether the records are released to
    4 the public. Mrs. Bryant seeks an order requiring Mr. Jordan to produce cell phone
    5 records, including records of his text-messaging activity, for a five-week
    6 timeframe—from January 26, 2020 through March 3, 2020. Mr. Jordan’s wireless
    7 carrier, AT&T, maintains records of picture and video messaging activity. (Bryant
    8 Decl. ¶ 24.) The mere notion that an individual can subpoena the private cell phone
    9 records of another non-party individual to a lawsuit, would have perilous effects on
   10 Americans’ right to privacy. Plaintiff’s objective in obtaining information from
   11 these third parties can be sought through other less invasive means.
   12               1.     Stored Communications Act
   13        The Stored Communications Act (“SCA”) generally prohibits “providers' of
   14 communication services from divulging private communications to certain entities
   15 and/or individuals.” (Quon v. Arch Wireless Operating Co., Inc., 529 F.3d 892, 900
   16 (9th Cir.2008).) The SCA provides different prohibitions depending on whether the
   17 communications provider is classified as an “electronic communication service” or a
   18 “remote computing service.” (18 U.S.C. § 2702(a)). The Ninth Circuit has held that
   19 wireless communications providers such as AT & T are properly classified as an
   20 “electronic communication service.” Quon, 529 F.3d at 901 (holding that text
   21 messaging pager services provided by Arch Wireless constitute an “electronic
   22 communication service” and not a “remote computing service”); (“Existing
   23 telephone companies and electronic mail companies are providers of electronic
   24 communications services.”)).
   25        Nevertheless, an electronic communication service provider may release
   26 subscriber information that is not considered “content” under 18 U.S.C. §
   27 2702(c)(6). The “contents” of a communication are defined as “information
   28 concerning the substance, purport, or meaning of that communication.”

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    1 §§2711(1) and 2510(8). A provider may also release communications if the
    2 subscriber gives consent to the release of such communications.
    3         In Mintz, Plaintiff moved for an order to quash the subpoena served on AT&T
    4 Mobility LLC by the Defendant seeking the Plaintiff's cell phone records. Plaintiff
    5 primarily argued that the records are irrelevant to the case and seek information that
    6 would intrude on the Plaintiff's privacy rights. In turn, the Defendant argued that the
    7 Plaintiff lacks standing to challenge the subpoena and the information sought was
    8 relevant to the Defendant's defense. First, the Court held that the Plaintiff had
    9 standing to challenge the subpoena even though Plaintiff was not the person to
   10 whom the subpoena was served nor was he in possession or control of the requested
   11 information, Plaintiff ultimately had a sufficient personal interest in the information
   12 to have standing to challenge the subpoena.
   13         In Mintz the Court established that the Court must consider all the
   14 circumstances to determine the extent of Plaintiff's expectation of privacy in the AT
   15 & T account. They went on to state that, (“[O]ur decision about the reasonableness
   16 of [the employee's] claimed expectation of privacy must take into account any
   17 accepted community norms, advance notice to [the employee] about [the
   18 employer's] policy statement, and whether [the employee] had the opportunity to
   19 consent to or reject the very thing that constitutes the invasion.” Considering these
   20 facts the Court had only a limited expectation of privacy in the AT&T account,
   21 given the advanced policy notice.
   22         Our case is distinguishable from Mintz because in Mintz the employer was
   23 paying for the telephone bill in question, and the employer had previously provided
   24 a clear statement of this policy to its employee. Therefore, the employer was allotted
   25 a “legally protected privacy interest in the AT&T account” that was limited under
   26 the circumstances where the plaintiff's employer had been paying for the phone.
   27 (Mintz v. Mark Bartelstein & Assocs., Inc. 885 F. Supp. 2d 987, 999 (2012)). In the
   28 present case that is, T-Mobile and AT&T have been subpoenaed for various phone

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    1 numbers which include the county cell phone records of third-party witness Brian
    2 Jordan. Moreover, Vanessa Bryant is a private individual, she has no rights in the
    3 AT&T and T-Mobile records as she is in no way interlinked to the individuals
    4 involved in the subpoena. Also, taking into consideration the language in Mintz, the
    5 Court will look to account any accepted community norms, advance notice, and
    6 whether [the individual] had the opportunity to consent to or reject the very thing
    7 that constitutes the invasion. Case law has demonstrated that the community
    8 standards pertaining to the privacy of cell phone records should be highly private
    9 Captain Jordan does not object to his county cell phone records but rather seeks to
   10 object to the subpoena that targets his personal records as Plaintiff has no right to
   11 obtain these records under the current case law.
   12               2.     Captain Jordan Has Standing
   13         Even though the subpoena is directed to disclosure of Jordan's personal
   14 records, At&T cannot consent for Jordan, therefore we conclude that Jordan has
   15 standing on the facts presented to challenge the subpoena. Such standing exists to
   16 the extent that Jordan asserts his personal right or privilege concerning any
   17 information contained in the text messages, cellular detail records, call or activity
   18 histories, records, statements, invoices, and bills indicating showing or reflecting
   19 any transmission or sharing between Jordan and the cell phone numbers listed in the
   20 subpoena.
   21               3.     The Court Should Not Allow The Invasion
   22         Thus, AT & T must comply with the rules applicable to electronic
   23 communication services and “shall not knowingly divulge to any person or entity
   24 the contents of a communication while in electronic storage by that service,” (18
   25 U.S.C. § 2702(a)(1)), unless one of the specifically enumerated exceptions in 18
   26 U.S.C. § 2702(b) apply. 18 U.S.C. § 2702(b) contains a number of exceptions which
   27 do not apply here, such as the exceptions for law enforcement purposes. 18 U.S.C. §
   28 2702(b)(6)-(8). The only relevant exceptions include 18 U.S.C. § 2702(b)(1), which

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    1 permits the disclosure of the contents of a communication “to an addressee or
    2 intended recipient of such communication or an agent of such addressee or intended
    3 recipient.” Additionally, 18 U.S.C. § 2702(b)(3) permits the disclosure of the
    4 contents of a communication “with the lawful consent of the originator or an
    5 addressee or intended recipient of such communication.” Mr. Jordan has not given
    6 his consent for this information for the reasons explained below, the personal
    7 telephone records should not be provided.
    8        In Carpenter, the United States Supreme Court reversed a Court of Appeals
    9 decision granting access to the personal cell phone records in question. The
   10 Carpenter case involved Timothy Carpenter, an accused leader of an armed robbery
   11 gang in the Detroit area who was convicted after the jury was told that his
   12 movements were tracked for 127 days using data from cell towers. The tracking data
   13 showed that he was near the scene of several of the robberies.
   14        Under federal law known as the Stored Communications Act, investigators
   15 were able to obtain Carpenters personal cell phone records by going before a Judge
   16 and showing they had facts demonstrating the cell phone records were “relevant and
   17 material to the ongoing criminal investigation.” They were not required to obtain a
   18 search warrant based on “probable cause” to believe that a particular individual was
   19 involved in a particular crime-- a tougher standard to meet.
   20        In a landmark holding, The Supreme Court disagreed and reversed the
   21 decision holding that Carpenter had a reasonable expectation that his movements
   22 around Los Angeles County were private such that the tracking data was a search
   23 and was unreasonable without a warrant. Chief Justice Roberts, who wrote the
   24 opinion, noted that without such a rule, the government could easily amass too much
   25 information. Roberts continued by holding that most people “compulsively carry
   26 cell phones with them all the time. A cell phone faithfully follows it’s owner beyond
   27 public thoroughfare and into private residences, doctor offices, political
   28 headquarters, and other potentially revealing locales.” If the government were

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    1 allowed to feely obtain the data without a warrant “Only a few without cell phones
    2 could escape this tireless and absolute surveillance.”
    3         Applied to our case counsel for Plaintiff Vanessa Bryant, a private individual,
    4 without a search warrant, now attempts to subpoena the personal cell phone records
    5 of third-party witness Captain Brian Jordan, who at the time of the Kobe Bryant
    6 helicopter crash was the Chief Safety Officer for the Los Angeles County Fire
    7 Department. While Jordan does not in this motion challenge the right of Ms. Bryant
    8 to access his county cell phone records which are also requested in this subpoena, he
    9 does through this motion challenge the discovery of his personal cell phone records
   10 without a warrant or other order of the Court.
   11         Captain Jordan’s personal cell phone records, in addition to including all the
   12 phone numbers of all persons he called and all persons who called him for a period
   13 of time, it would also potentially reveal other personal information which is
   14 protected by the Fourth Amendment to the United States Constitution. In accordance
   15 with the US Supreme Court holding in Carpenter, third-party witness Brian Jordan
   16 respectfully requests this Court quash this Subpoena as to his personal cell phone
   17 number and/or issue a Protective Order that the Subpoena may be complied with as
   18 to the other numbers requested by the Subpoena, but that a Protective Order shall
   19 issue as to the personal cell phone records of Captain Brian Jordan.
   20         The Supreme Court’s rationale for refusing to apply the search incident to
   21 arrest exception to data stored on cell phones in Riley, strongly suggests that the
   22 Court should quash this Subpoena and protect Captain Jordan’s privacy interests.
   23 Although Riley is a criminal matter the Court’s commitment to prohibit the intrusive
   24 invasion of searching an item that keeps a digital record of nearly every aspect of
   25 our lives displays the policy rationale the Court will adhere to. Cell phones are used
   26 by society as a whole daily to store private information, which is why Courts have
   27 urged the need to obtain a warrant before searching them. Although the facts from
   28 Riley are distinguishable from the case at bar these cases ultimately require the

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    1 application of similar laws. Absent special circumstances and pursuant to the
    2 Fourth Amendment, the government may not intrude on an individual’s privacy
    3 interests in seeking cell phone records without the issuance of a warrant. Therefore,
    4 as clearly indicated in Riley, the Court should quash the request for Captain Brian
    5 Jordan’s cell phone records due to the device’s vast storage capacity and ability to
    6 digitally withhold many sensitive records previously found in the home.
    7        Plaintiff continues to assert that Mr. Jordan has shown that he cannot be taken
    8 at his word with reference to the fact that he took photographs based on the orders
    9 he was provided by his superiors. Plaintiff says with certainty and cites to the report
   10 in Exhibit O that Captain Jordan’s remarks regarding the sending of graphic photos
   11 have proven to be false. (See Bryant Decl. Ex. O at 195.) Yet again, Plaintiff
   12 distorts the truth. Nothing has been “proven” by this internal investigation. The
   13 allegations made in the report contain a myriad of hearsay statements. The
   14 investigator conducting the report purely stated that he did not find some of Captain
   15 Jordan’s denials to be credible, due to the slew of other investigations he had
   16 conducted. It might be relevant to consider the fact that this investigation was
   17 highly controversial and contained many moving parts with individuals whom were
   18 fearful of the outcome of the investigation and more notably the impact the
   19 investigation would have on their careers. To suggest that merely because someone
   20 does not find your depiction of the events to be credible automatically implies you
   21 have lied or your story has been proven false, is absolute blasphemy.
   22        Moreover, Plaintiff claims discovery in this case has shown that County
   23 employees routinely use personal devices to take photos at work, and that countless
   24 County employees were using personal devices at the crash site. Should this
   25 without qualification implicate the Public Officer at the site? Mrs. Bryant does not
   26 have good reason to seek Mr. Jordan’s personal phone activity during the relevant
   27 timeframe irrespective of the conduct of other county employees.
   28

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    1        It is with great impertinence that Plaintiff suggests that Mr. Jordan grievously
    2 intruded on Mrs. Bryant’s privacy by taking graphic photos of her deceased loved
    3 ones. When Mr. Jordan was simply obeying orders. Captain Jordan, nor any man,
    4 could not have wished to see the carnage that he saw on January 26, 2020. A sight
    5 which he will remember and carry with him for the rest of his life. Time and time
    6 again Captain Jordan has sought to put these events past him but instead Plaintiff
    7 has pursued vengeance against this third party witness, while the County has used
    8 Mr. Jordan, a retired Captain, as a scape goal for their shortcomings. Captain Jordan
    9 feels empathy for the pain Mrs. Bryant and her family were subjected to and the
   10 notion that one day photographs will come to light that might affect her family, but
   11 Captain Jordan should not have to suffer an invasion of privacy to rectify a
   12 potentially theoretical wrong that he was not the cause of.
   13        Thereby, Mr. Jordan is not using a putative privacy interest in text-activity
   14 logs to deprive Mrs. Bryant of information that is highly relevant to her claims.
   15 Rather Mr. Jordan is attempting to safeguard one of the many protections that
   16 should be afforded to him as a citizen. Mr. Jordan respectfully requests that the
   17 Court overrule Mrs. Bryant’s requests to compel the production of his cell phone
   18 records regardless of how narrow the scope, due to his lack of wrongdoing.
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    1
    2 DATED: October 14, 2021                  MUNGER, TOLLES & OLSON LLP
    3
    4
                                               By:        /s/ Luis Li
    5
                                                   LUIS LI
    6                                          Attorneys for Plaintiff Vanessa Bryant
    7
    8
        DATED: October 15, 2021                HANEY LAW GROUP
    9
   10
   11                                          By:        /s/ Steven H. Haney
   12                                              STEVEN H. HANEY
                                               Attorneys for Brian Jordan
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    1                               ATTESTATION CLAUSE
    2        I, Luis Li, am the ECF User whose ID and password are being used to file this
    3 NOTICE OF MOTION AND JOINT STIPULATION RE: PLAINTIFF’S MOTION
    4 TO COMPEL COMPLIANCE WITH SUBPOENA FOR CELL PHONE
    5 RECORDS. In compliance with L.R. 5-4.3.4, I hereby attest that all other
    6 signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
    7 content and have authorized the filing.
    8
    9   Dated: October 15, 2021                                     /s/ Luis Li
                                                                      Luis Li
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